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                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII


GULSTAN E. SILVA, JR., as                 )   Civil No. 15-00436 HG-KJM
Personal Representative of the            )
Estate of Sheldon Paul Haleck,            )
                                          )
                   Plaintiff,             )
                                          )
             vs.                          )
                                          )
CHRISTOPHER CHUNG; SAMANTHA               )
CRITCHLOW; AND STEPHEN KARDASH, )
                                          )
                                          )
                   Defendants.            )
__________________________________________)

               ORDER #1 ON PLAINTIFF’S MOTIONS IN LIMINE

PLAINTIFF’S MOTION IN LIMINE NO. 1

MOTION TO EXCLUDE TESTIMONY, EVIDENCE, AND ARGUMENT REGARDING
“EXCITED DELIRIUM” AT TRIAL (ECF No. 266) is DENIED


      Plaintiff’s Motion in Limine No. 1 seeks to exclude

Defendants’ expert, Dr. Stacey Hail, M.D., and her expert opinion

relating to “excited delirium syndrome.”

      Dr. Hail is an Emergency Medicine Physician and a Medical

Toxicologist certified by the American Board of Emergency

Medicine and the American Board of Medical Toxicology.           She is an

Associate Professor in the Department of Emergency Medicine at

the University of Texas Southwestern Medical Center at Dallas,

Texas.    She currently serves as an attending physician in the

Parkland Hospital Emergency Department in Texas, which is a Level


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1 Trauma Center and is represented to have the most emergency

room visits of any single hospital in the United States.             (Ex. A

at p. 1, ECF No. 308-2).

       Plaintiff makes two principal objections to Dr. Hail being

called to testify as an expert witness.

       First, Plaintiff claims that Dr. Hail is not qualified to

testify about the Decedent’s cause of death.

       Second, Plaintiff argues that Dr. Hail’s opinion should be

excluded because her conclusion that the Decedent died as a

result of Excited Delirium Syndrome is not reliable.


       A.   Dr. Hail Is Qualified To Provide Expert Testimony As To
            The Decedent’s Cause Of Death


       Federal Rule of Evidence 702 provides that “scientific,

technical, or other specialized knowledge” by a qualified expert

is admissible if it will “help the trier of fact to understand

the evidence or to determine a fact in issue.”          Fed. R. Civ. P.

702.

       The United States Supreme Court held in Daubert v. Merrell

Dow Pharms., 509 U.S. 579, 589 (1993) that the District Court has

a gatekeeping responsibility to objectively screen expert

testimony to ensure that it is not only relevant, but reliable.

The District Court’s obligation applies to technical and other

specialized knowledge as well as testimony based on scientific

knowledge.    Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141-42

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(1999).

      The Ninth Circuit Court of Appeals has explained that expert

testimony is relevant if the evidence logically advances a

material aspect of the party’s case.         Estate of Barabin v.

AstenJohnson, Inc., 740 F.3d 457, 463-64 (9th Cir. 2014).            The

Court must decide if an expert’s testimony has a reliable basis

in the knowledge and experience of the relevant discipline.

Kumho, 526 U.S. at 149.

      Causation is an extremely relevant issue in this case.            To

prevail in a Section 1983 action, the plaintiff must demonstrate

that the defendant’s conduct was the cause of the claimed injury.

Harper v. City of Los Angeles, 533 F.3d 1010, 1026 (9th Cir.

2008).    To meet the causation requirement, the plaintiff must

establish both causation-in-fact and proximate causation.            Id.

The inquiry into causation must be individualized and focus on

the duties and responsibilities of each individual defendant

whose acts or omissions are alleged to have caused a

constitutional deprivation.       Leer v. Murphy, 844 F.2d 628, 633

(9th Cir. 1988).

      Dr. Hail’s expert report provides an opinion as to the

Decedent’s cause of death.       Dr. Hail opines that the Decedent

died from methamphetamine-induced Excited Delirium Syndrome.

(Ex. A at p. 26, ECF No. 308-2).          The report concludes that the

Defendant Officers did not cause the Decedent’s death.           Dr.


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Hail’s expert report states that the Decedent did not die from

traumatic causes, nor from exposure to the Taser or exposure to

OC spray, or due to restraint by the Defendant Officers.

      Dr. Hail is qualified to provide a medical expert opinion as

to cause of death.      Dr. Hail has served as a medical expert

witness in numerous cases.       Several federal courts have certified

Dr. Hail as a medical expert and admitted her expert opinion

testimony concerning cause of death.         United States v. Shelton,

2019 WL 1227967, *4 (E.D. Mich. March 15, 2019); United States v.

Jain, 2019 WL 1110800, *6 (D. N.M. March 11, 2019); United States

v. MacKay, 20 F.Supp.3d 1287, 1291 (D. Utah 2014); United States

v. Santillana, 604 F.3d 192, 194 (5th Cir. 2010).

      Plaintiff objects on the basis that Dr. Hail is not a

pathologist and did not perform the autopsy of the Decedent.

Plaintiff’s argument is misplaced.        Such an argument goes to the

weight of the opinion, not the admissibility.          A physical

examination of the decedent is not required for an expert to be

permitted to testify as to cause of death.         Williams v. Daszko,

2018 WL 2684314, *6 (E.D. Cal. June 5, 2018) (rejecting a

challenge to a medical expert on the basis that the expert did

not conduct a physical examination of the patient).

      The inquiry is whether the expert has the qualifications

based on his or her knowledge, skill, experience, training, or

education.    Kumho, 526 U.S. at 149.      Toxicologists are regularly


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found to have the requisite education, training, and experience

to provide expert opinion as to the cause of death despite not

performing the autopsy of the decedent.         LeBlanc v. City of Los

Angeles, 2006 WL 4752614, *8 (C.D. Cal. Aug. 16, 2006) (finding

toxicologist permitted to testify as to cause of death even

though she was not a pathologist); see Wereb v. Maui Cnty., 2011

WL 13279150, *2 (D. Haw. Dec. 2, 2011) (finding an expert with a

Ph.D. was permitted to testify as to cause of death even though

he is not a coroner, medical examiner, or medical doctor).

      Dr. Hail is qualified to render an expert opinion on cause

of death based on her knowledge, skill, experience, training, and

education.


      B.    Dr. Hail May Provide Expert Testimony As To Excited
            Delirium Syndrome


      The District Court’s inquiry into an expert’s admissibility

pursuant to Daubert is a flexible one.         Alaska Rent-A-Car, Inc.

v. Avis Budget Grp., Inc., 738 F.3d 960, 969 (9th Cir. 2013).

The trial court has discretion to decide how to test an expert’s

reliability as well as relevance based on the circumstances of

the particular case.      Primiano v. Cook, 598 F.3d 558, 564 (9th

Cir. 2010).

      The trial court is “supposed to screen the jury from

unreliable nonsense opinions, but not exclude opinions merely

because they are impeachable.”        Alaksa Rent-A-Car, 738 F.3d at

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969.

       Plaintiff argues that Dr. Hail’s conclusion that the

Decedent died as a result of methamphetamine-induced Excited

Delirium Syndrome should be excluded because it is not a

recognized medical diagnosis by the American Medical Association,

American Psychiatric Association, or the World Health

Organization.     Plaintiff’s argument goes to weight, not

admissibility.     The district court is not tasked with deciding

whether the expert is right or wrong, just whether the testimony

has substance such that it would be helpful to the jury.             Id. at

969.

       Dr. Hail’s expert opinion is based on reliable data,

principles, and methods.       Fed. R. Evid. 702; Daubert, 509 U.S. at

589.    In 2008, the American College of Emergency Physicians

commissioned a task force of nineteen experts to study Excited

Delirium Syndrome.      (Am. College of Emergency Physicians, Excited

Delirium Task Force White Paper Report to the Council and Board

of Directors, (“White Paper”), dated September 10, 2009, Trial

Exhibit 79).

       On September 10, 2009, the task force published a study that

provides a review of the history and epidemiology of the

syndrome, its clinical perspectives, potential pathophysiology,

diagnostic characteristics, differential diagnoses, and clinical

treatment.    The study concludes, as follows:


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      It is the consensus of the Task Force that [Excited
      Delirium Syndrome] is a unique syndrome which may be
      identified by the presence of a distinctive group of
      clinical and behavioral characteristics that can be
      recognized in the pre-mortem state. [Excited delirium
      syndrome], while potentially fatal, may be amendable to
      early therapeutic intervention in some cases.

      (Id.)

      The Eleventh Circuit Court of Appeals has explained that

“‘excited delirium’ is a widely accepted entity in forensic

pathology and is cited by medical examiners to explain the sudden

in-custody deaths of individuals who are combative and in a

highly agitated state.”      Mann v. Taser Int’l, Inc., 588 F.3d

1291, 1299 n.4 (11th Cir. 2009) (citing the Report of the Counsel

on Science and Public Heath, 453 (Am. Medical Assoc., Annual

Meeting, 2009)).     Numerous federal district courts have found

expert testimony regarding Excited Delirium Syndrome to be

sufficiently reliable and admissible despite Daubert challenges

to its admissibility.      See e.g., Lass v. Cnty. of Orange, 2010 WL

11561183, *1 (C.D. Cal. Sept. 17, 2010); Galack v. PTS of Am.,

LLC, 2015 WL 5692327, *18 (N.D. Ga. July 6, 2015); Barnwell v.

Roane Cnty., 2016 WL 1457928, *3-*4 (E.D. Tenn. Apr. 12, 2016).

      The Ninth Circuit Court of Appeals has permitted district

courts to rely on expert testimony regarding Excited Delirium

Syndrome in granting police officers qualified immunity in

Section 1983 cases.      Marquez v. City of Phoenix, 693 F.3d 1167,

1171 (9th Cir. 2012); Gregory v. Cnty. of Maui, 523 F.3d 1103,


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1109-10 (9th Cir. 2008).

      Dr. Hail explains in her report that she reviewed a number

of studies concerning Excited Delirium Syndrome including both

the American College of Emergency Physician’s White Paper and the

National Institute of Justice’s report from its Excited Delirium

Syndrome Workshop Panel.       The studies discuss the definition,

epidemiology, pathophysiology, differential diagnosis, and acute

treatment of Excited Delirium Syndrome and the common features of

the syndrome.     Dr. Hail reviewed the common features from the

studies and compared them to those exhibited by the Decedent in

rendering her opinion.      Dr. Hail’s methods are sufficiently

reliable to allow her to provide an expert opinion.

      Plaintiff objects to Dr. Hail’s conclusion that the

Decedent’s death was caused by Excited Delirium Syndrome on the

basis that it is a differential diagnosis rather than the result

of a definitive diagnostic test.          Plaintiff’s objection is

misplaced.    The Ninth Circuit Court of Appeals has found that

differential diagnosis is a common, reliable methodology under

the Daubert standard that is admissible.          Messick v. Novartis

Pharms. Corp., 747 F.3d 1193, 1197 (9th Cir. 2014) (collecting

cases explaining that reliable differential diagnosis may form

the basis of an expert’s causation testimony); Clausen v. M/V New

Carissa, 339 F.3d 1049, 1057-58 (9th Cir. 2003) (explaining that

differential diagnosis is a reliable, standard scientific


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technique of identifying the cause of a medical problem by

eliminating the likely causes until the most probable one is

isolated).

      Plaintiff’s challenges to Dr. Hail’s expertise and opinions

go to the weight of her opinion, but they do not provide a basis

for exclusion of the testimony.        Primiano, 598 F.3d at 566-68.

      Plaintiff is permitted to cross-examine Dr. Hail on her

conclusions, the reliability of the principles and methods she

utilized, any conflicting expert testimony, and any contrary

evidence in the record.      City of Pomona v. SQM No. Am. Corp., 750

F.3d 1036, 1049 (9th Cir. 2014).          It is the job of the jury to

determine whether to credit Dr. Hail’s opinion.          Id. (citing

United States v. Sandoval-Mendoza, 472 F.3d 645, 654 (9th Cir.

2006)).

      Plaintiff’s Motion in Limine No. 1 To Exclude Testimony,

Evidence, and Argument Regarding “Excited Delirium Syndrome” At

Trial (ECF No. 266) is DENIED.


PLAINTIFF’S MOTION IN LIMINE NO. 2

MOTION TO EXCLUDE TESTIMONY AND REPORT OF MR. MARK KROLL FROM
BEING INTRODUCED AT TRIAL (ECF No. 267) is DENIED


      Plaintiff’s Motion in Limine No. 2 seeks to exclude

Defendants’ expert, Dr. Mark Kroll, Ph.D., and his expert opinion

relating to Tasers and electrical weapons.

      Plaintiff makes two principal arguments.         First, Plaintiff

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 argues that Dr. Kroll is biased and not qualified to give an

 expert opinion.     Second, Plaintiff challenges Dr. Kroll’s

 methodology in reaching his opinion that the Taser did not

 electrocute the Decedent in this case.


       A.    Dr. Kroll Is Qualified To Provide Expert Testimony As
             To Electric Weapons and The Use Of The Taser On The
             Decedent


       Dr. Kroll is a Biomedical Scientist with a specialty in

 bioelectricity, that is, interaction of electricity and the body.

 He has a Masters of Science and a Ph.D. in Electrical Engineering

 and is currently an adjunct full professor in biomedical

 engineering at California Polytechnic University and the

 University of Minnesota and a principal in Mark Kroll &

 Associated, LLC.

       Dr. Kroll has been issued 370 U.S. patents and represents

 that he holds the most patents on electrical medical devices of

 anyone in the world.     (Def.’s Ex. A, at p. 4, ECF No. 309-2).          He

 is a Fellow of the American College of Cardiology, a Fellow of

 the Heart Rhythm Society, a Fellow of the IEEE Engineering in

 Medicine and Biology Society, and a Fellow of the American

 Institute for Medical and Biological Engineering.          Dr. Kroll is

 the author of over 200 abstracts, papers, and book chapters and

 is also the co-editor of 4 books, including 2 scientific books on

 electrical weapons.


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       Dr. Kroll serves on numerous boards including the board for

 Taser International, Haemonetics, Prostracare, VivaQuant, and

 Recombinetics.

       Plaintiff argues that Dr. Kroll should be precluded from

 testifying because he is a member of the Board for Taser

 International and is also the Chair of Taser International’s

 Litigation Committee.      Plaintiff’s argument is misplaced.

 Plaintiff’s argument goes to the weight and credibility of Dr.

 Kroll’s testimony, not its admissibility.         The Ninth Circuit

 Court of Appeals has explained that “as a general rule, bias is

 not a permissible reason for the exclusion of expert testimony.”

 United States v. Thompson, 2007 WL 2044725, *2 (9th Cir. July 16,

 2007) (citing United States v. Abonce-Barrera, 257 F.3d 959, 965

 (9th Cir. 2001)).

       Causation is a central issue in this case, specifically

 whether Defendant Chung’s use of the Taser on the Decedent may

 have contributed to his death.       Dr. Kroll has been certified to

 provide expert opinion on similar issues by numerous federal

 courts.   Khottavongsa v. City of Brooklyn Ctr., 2017 WL 3822877,

 *6 (D. Minn. Aug. 30, 2017);       Martin v. City of Reading, 2015 WL

 4714649, *2 (E.D. Penn. Aug. 7, 2015);        Estate of Carlock v.

 Williamson, 2012 WL 75765, *2 (C.D. Ill. Jan. 10, 2012).

       Dr. Kroll has the requisite training, skill, education, and

 experience to testify regarding the use of Tasers and the effect


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 it may or may not have had on the Decedent.         Kumho, 526 U.S. at

 149; Wereb, 2011 WL 13279150, at *2.


       B.    Dr. Kroll’s Expert Report Satisfies the Requirements of
             Federal Rule of Evidence 702 and Daubert


       Dr. Kroll conducted an audio analysis from the deployments

 of the Taser at issue in this case.        Dr. Kroll developed a

 software tool which he used in his analysis.         Dr. Kroll’s expert

 report sets forth that the software he used is a widely accepted

 tool in biological and psychological research for sound analysis.

       Dr. Kroll reviewed the audio signatures from the recording

 of the Taser deployments in this case.        Dr. Kroll evaluated the

 sound emitted to determine if the Taser deployments resulted in

 an open circuit or an intact circuit to the Decedent.           Dr.

 Kroll’s report explains that an open-circuit occurs when a wire

 is broke, a probe misses, there is a clothing disconnect, or a

 probe is dislodged.     The expert report opines that an open-

 circuit results in a louder sound and crackling being emitted

 from an electrical arc.

       Dr. Kroll’s report also reviewed the video from the Taser

 deployments.    The report explains the effects the Taser would

 have had on the Decedent given the distances at issue in the

 videos     Dr. Kroll asserts that Officer Chung’s deployment of the

 Taser resulted in a maximum of 1 second of probe-mode electronic

 control to the Decedent.

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       Dr. Kroll’s expert report cites to more than 150 authorities

 to support the scientific basis for his opinions.          The Defendant

 Officers explain in their Opposition that one of the references

 is Dr. Kroll’s publication “Significance of Sound During CEW

 Application” which is a peer-reviewed article.          The article has

 received no negative comments and is published in a learned

 treatise.    (Opposition at pp. 14-156, ECF No. 309).

       The expert report states that Dr. Kroll’s opinions were

 developed using well-recognized scientific disciplines, including

 bioelectricity, electrophysiology, and biomedical science, and

 that Dr. Kroll applied various qualitative and quantitative

 research methodologies as outlined in the report.          (Def.’s Ex. A

 at pp. 26-33, ECF No. 309-2).       Dr. Kroll’s report satisfies the

 requirements of Fed. R. Evid. 702.

       The soundness of the factual underpinnings and the

 correctness of Dr. Kroll’s conclusions are matters for the jury,

 and do not go to the admissibility of his opinion.          Daubert, 509

 U.S. at 596 (explaining that vigorous cross-examination and

 presentation of contrary evidence are appropriate means of

 attacking an expert opinion but do not provide a basis for

 exclusion).

       Plaintiff’s Motion in Limine No. 2 to Exclude Testimony And

 Report Of Dr. Mark Kroll, Ph.D. (ECF No. 267) is DENIED.




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 PLAINTIFF’S MOTION IN LIMINE NO. 3

 MOTION TO EXCLUDE ARGUMENTS ABOUT QUALIFIED IMMUNITY AND THE
 COMMUNITY CARETAKING DOCTRINE (ECF No. 268) is GRANTED, IN PART,
 AND DENIED, IN PART


       Plaintiff’s Motion in Limine No. 3 seeks to exclude

 Defendants from presenting evidence and argument regarding

 qualified immunity and the community caretaking doctrine.

       Defendants oppose the Motion, in part.        Defendants agree

 that it will not argue or use the term “qualified immunity”

 before the jury.

       Defendants argue, however, that factual issues regarding

 qualified immunity are relevant and necessary issues for trial.

 Defendants also argue that issues regarding the Defendant

 Officers’ community caretaking functions are relevant for trial.


       A.    Procedural Background


       On June 28, 2017, the District Court issued an Order denying

 the Defendant Officers’ request for qualified immunity as to

 Plaintiff’s claim for excessive force in violation of the Fourth

 Amendment to the United States Constitution.         (ECF No. 224).

       On July 10, 2018, the Ninth Circuit Court of Appeals issued

 an unpublished Memorandum decision. (ECF No. 241).          The appellate

 court affirmed the district court’s denial of qualified immunity

 and remanded for further proceedings.        In its decision, the



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 appeals court held that viewing the evidence in the light most

 favorable to the Plaintiff, there were factual issues as to

 whether the Defendant Officers used excessive force in deploying

 the Taser and the pepper spray against the Decedent.

       The Defendant Officers filed a petition for certiorari to

 the United States Supreme Court that was denied on February 19,

 2019.      (ECF No. 252).


       B.      Evidence Regarding Qualified Immunity Is Relevant And
               Admissible At Trial


       The doctrine of qualified immunity protects government

 officials from liability for civil damages insofar as their

 conduct does not violate clearly established statutory or

 constitutional rights of which a reasonable person would have

 known.      Pearson v. Callahan, 555 U.S. 223, 231 (2009).       The test

 is (1) whether there has been a violation of a constitutional

 right; and (2) whether that right was clearly established at the

 time of the officer’s alleged misconduct.         Reese v. Cnty. of

 Sacramento, 888 F.3d 1030, 1037 (9th Cir. 2018).

       The second prong of determining if the right was “clearly

 established” is a matter of law to be decided by the Court.

 Morales v. Fry, 873 F.3d 817, 824-25 (9th Cir. 2017).           Only the

 jury, however, can decide disputed factual issues and therefore

 the jury must first decide the disputes of fact regarding whether

 there has been a violation of a constitutional right before the

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 Court may rule upon the second prong of the qualified immunity

 test.   Reese, 888 F.3d at 1039-40.

       The Ninth Circuit Court of Appeals construed the record in

 the light most favorable to the Plaintiff in its decision on

 qualified immunity.     The appellate court did not find facts and

 there are no facts established for trial regarding qualified

 immunity.    The appeals court specifically found that “there is a

 factual issue for the jury whether [Defendant Officers’] use of

 force violated both the Forth Amendment and clearly established

 law” which must be decided first before determining whether the

 Defendant Officers are entitled to qualified immunity.           Silva v.

 Chung, 740 Fed. Appx. 883, 887 (9th Cir. 2018).

       The Ninth Circuit Court of Appeals did not find that the

 Defendant Officers could not raise qualified immunity at trial.

 Qualified immunity is a defense and the factual questions as to

 the Defendant Officers’ actions is a question for the jury.

 Morales, 873 F.3d at 823.      Defendants are allowed to proffer

 evidence and testimony regarding the totality of the

 circumstances surrounding the Defendant Officers’ use of force.

 Such evidence is relevant for the ultimate issue at trial and as

 to whether the Defendant Officers are entitled to qualified

 immunity.    The Defendant Officers are not precluded from seeking

 qualified immunity at the close of evidence pursuant to Federal

 Rule of Civil Procedure 50 or from the appellate court if


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 necessary.


       C.    Evidence Regarding Community Caretaking Is Relevant And
             Admissible At Trial


       It is well established that police officers serve community

 caretaking functions that are separate from detection,

 investigation, or acquisition of evidence relating to violation

 of a criminal statute.      Cady v. Dombrowski, 413 U.S. 433, 441

 (1973); Ames v. King Cnty., 846 F.3d 340, 348 (9th Cir. 2017).

 Officers’ community caretaking actions must meet the overarching

 standard of reasonableness based on all of the facts presented.

 Miranda v. City of Cornelius, 429 F.3d 858, 864 (9th Cir. 2005).

       In its decision on appeal, the Ninth Circuit Court of

 Appeals addressed community caretaking in light of the arguments

 raised by the Parties.      Silva, 740 Fed. Appx. at 887.       The

 appellate court stated that there was evidence that the Defendant

 Officers were serving in a community caretaking function, but the

 appellate court found that there was a question as to the

 reasonableness of the Officers’ conduct when reviewing the record

 in the light most favorable to the Plaintiff.

       Defendants are not precluded from arguing or presenting

 evidence during trial that they were engaged in community

 caretaking and acted reasonably given the severity of the

 circumstances during the incident on March 16, 2015.

       Defendants are allowed to elicit evidence of the Officers’

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 community caretaking function and the surrounding circumstances

 during the March 16, 2015 incident.

       Plaintiff’s Motion in Limine No. 3 To Exclude Any Arguments

 About Qualified Immunity And The Community Caretaking Doctrine

 (ECF No. 268) is GRANTED, IN PART, AND DENIED, IN PART.

       The Motion is GRANTED on the basis that the Parties may not

 argue the issue of qualified immunity to the jury.

       The Motion is DENIED on the basis that the Defendants are

 not precluded from presenting evidence and establishing facts

 regarding qualified immunity and the Defendants may argue and

 elicit testimony regarding their community caretaking function.


 PLAINTIFF’S MOTION IN LIMINE NO. 4

 MOTION TO EXCLUDE REFERENCES TO CIRCUMSTANCES SURROUNDING THE
 RETIREMENT OF PLAINTIFF’S EXPERT, RICHARD LICHTEN, FROM HIS
 FORMER POSITION WITH THE LOS ANGELES COUNTY SHERIFF’S DEPARTMENT
 (ECF No. 270) is GRANTED, IN PART, AND DENIED, IN PART


       Plaintiff seeks to preclude Defendants from introducing

 evidence concerning the circumstances of Plaintiff’s expert

 Richard Lichten’s retirement from the Los Angeles County

 Sheriff’s Department in 2008.

       Defendants argue that Mr. Lichten engaged in surreptitious

 sexual misconduct including masturbating in a female employee’s

 office after hours.     Defendants assert the misconduct was the

 subject of a civil lawsuit, which Mr. Lichten settled.


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 Defendants argue that Lichten was forced to resign because of the

 sexual misconduct complaint.       Defendants argue that such evidence

 is relevant and request they be able to cross-examine Mr. Lichten

 about the misconduct for bias and credibility purposes.

       Proof of bias is “. . . almost always relevant because the

 jury, as finder of fact and weigher of credibility, has

 historically been entitled to assess all evidence which might

 bear on the accuracy and truth of a witness’ testimony.”             United

 States v. Abel, 469 U.S. 45, 52 (1984).

       Other federal courts have addressed the same issue regarding

 Mr. Lichten’s retirement.      Recently two separate federal district

 courts have found that evidence of Mr. Lichten’s forced

 retirement is admissible as to his possible bias.          See Eliot v.

 Cnty. of Orange, 2018 WL 5099709, *2 (C.D. Cal. May 4, 2018);

 Ball v. Cnty. of Los Angeles, 2015 WL 1467179, *5 (C.D. Cal. Mar.

 23, 2015).

       In Eliot, the District Court for the Central District of

 California explained that “Mr. Lichten has admitted to this

 sexual misconduct in declarations and testimony given in other

 civil lawsuits.”     Eliot, 2018 WL 5099709, *1.      “According to Mr.

 Lichten’s own sworn testimony given in other cases, when it was

 discovered that he had been masturbating in a co-worker’s office,

 he was given the choice to retire or to face a sexual harassment

 investigation.     In other words, he was arguably forced out of his


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 position at the LASD after a decades-long career in law

 enforcement.    As Defendants argue, Mr. Lichten may harbor

 resentment about being compelled into retirement, and may have a

 bias against law enforcement agencies as a result.”          Id. at *2.

       The Court recognizes that the details of Mr. Lichten’s

 retirement are inflammatory and could confuse the jury and waste

 time on a collateral matter.       Fed. R. Evid. 403.

       The Court will permit the Parties to inquire of Mr. Lichten

 as to whether, at the time he retired, there was a complaint for

 misconduct against him.      They could then ask if he retired in

 lieu of an investigation and they may inquire if he bears any ill

 will against the Los Angeles County Sheriff’s Department or any

 other police department.

       The Parties may not introduce evidence of or ask details

 about the complaint, the fact that it was sexual in nature, or

 otherwise offer evidence or argument pertaining to alleged

 misconduct unless for impeachment purposes.         Defendants must

 raise any possible impeachment issue with the Court before it

 seeks to introduce such information before the jury.

       Plaintiff’s Motion in Limine No. 4 To Exclude References To

 Circumstances Surrounding The Retirement Of Plaintiff’s Expert,

 Richard Lichten, From His Former Position With Los Angeles County

 Sheriff’s Department (ECF No. 270) is GRANTED, IN PART, AND

 DENIED, IN PART.


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 PLAINTIFF’S MOTION IN LIMINE NO. 5

 MOTION TO BAR ALL EVIDENCE OF SHELDON HALECK’S PRIOR CRIMES,
 MISCONDUCT, WRONGS OR ACTS, AND ANY ACTS OF JESSICA HALECK NOT
 RELEVANT TO THE EVENTS OF MARCH 16, 2015 (ECF No. 286)

       The ruling on Plaintiff’s Motion in Limine No. 5 is set

 forth in the Court’s Order #3 on Motions in Limine.



 PLAINTIFF’S MOTION IN LIMINE NO. 6

 MOTION TO BAR ALL EVIDENCE OF ANY EYEWITNESSES TO THE ARREST AND
 SEIZURE OF SHELDON HALECK ON MARCH 16, 2015 (ECF No. 287) is
 DENIED

       Plaintiff’s Motion in Limine No. 6 seeks to bar all

 eyewitness testimony except for the testimony of the Defendant

 Officers.

       Plaintiff argues that eyewitness testimony of the subject

 incident is not relevant because reasonableness in an excessive

 force case is based upon the perspective of a reasonable officer

 on the scene, citing Hopkins v. Andaya, 958 F.2d 881, 885 (9th

 Cir. 1992).

       Plaintiff appears to argue that testimony from any

 eyewitness who is a bystander or percipient witness is not

 admissible in excessive force cases.        Plaintiff’s argument is not

 well taken.    Credibility is often an integral part of excessive

 force cases and eyewitness testimony is relevant and probative as

 to the respective Parties’ version of events.         Smith v. City of

 Hemet, 394 F.3d 689, 701 (9th Cir. 2005) (en banc) (explaining


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 that excessive force cases “almost always turn on a jury’s

 credibility determinations”).

       Eyewitness testimony from bystanders is relevant.          Hung Lam

 v. City of San Jose, 869 F.3d 1077, 1085 (9th Cir. 2017) (finding

 the eyewitness testimony of the neighbor provided substantial

 evidence for the jury to find that the defendant officer used

 excessive force).

       Plaintiff’s Motion in Limine No. 6 to Bar All Evidence of

 Any Eyewitness To The Arrest And Seizure Of Sheldon Haleck On

 March 16, 2015, Other Than The Officers Involved In The Arrest

 And Seizure (ECF No. 287) is DENIED.



                                 CONCLUSION


       Plaintiff’s Motion in Limine No. 1 To Exclude Testimony,

 Evidence, and Argument Regarding “Excited Delirium Syndrome” At

 Trial (ECF No. 266) is DENIED.

       Plaintiff’s Motion in Limine No. 2 to Exclude Testimony And

 Report Of Dr. Mark Kroll, Ph.D. (ECF No. 267) is DENIED.

       Plaintiff’s Motion in Limine No. 3 To Exclude Any Arguments

 About Qualified Immunity And The Community Caretaking Doctrine

 (ECF No. 268) is GRANTED, IN PART, AND DENIED, IN PART.

       Plaintiff’s Motion in Limine No. 4 To Exclude References To

 Circumstances Surrounding The Retirement Of Plaintiff’s Expert,


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 Richard Lichten, From His Former Position With Los Angeles County

 Sheriff’s Department (ECF No. 270) is GRANTED, IN PART, AND

 DENIED, IN PART.

       Plaintiff’s Motion in Limine No. 6 to Bar All Evidence of

 Any Eyewitness To The Arrest And Seizure Of Sheldon Haleck On

 March 16, 2015, Other Than The Officers Involved In The Arrest

 And Seizure (ECF No. 287) is DENIED.

       IT IS SO ORDERED.

       Dated: May 21, 2019, Honolulu, Hawaii.




 Gulstan E. Silva, Jr. as Personal Representative of the Estate of
 Sheldon Haleck v. Christopher Chung; Samathan Critchlow; and
 Stephen Kardash, Civil No. 15-00436 HG-KJM; ORDER #1 ON
 PLAINTIFF’S MOTIONS IN LIMINE
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